Case 1:24-cv-10049-LJL   Document 142-3   Filed 03/19/25   Page 1 of 4




                EXHIBIT A-2
                   Case 1:24-cv-10049-LJL           Document 142-3        Filed 03/19/25
                                                                                      FILED Page 2 of 4
                                                                                        2/4/2025 12:07 PM
                                                                                        Amanda K. Calvert
                                                                                        District Clerk
                                                                                        Hays County, Texas
                                                   CAUSE NO. 25-0200-DCF

                                                                 §
              IN RE:                                             §      IN THE DISTRICT COURT
              BLAKE LIVELY,                                      §
                                                                 §
                                     Petitioner,                 §
                                                                 §      483rd JUDICIAL DISTRICT
              REQUESTING DEPOSITION OF:                          §
              JED WALLACE.                                       §
                                                                 §
                                                                 §      HAYS COUNTY, TEXAS
                                                                 §
                                                                 §

                          PETITIONER’S NOTICE OF NONSUIT WITHOUT PREJUDICE

                    Pursuant to Texas Rule of Civil Procedure 162, Petitioner Blake Lively hereby voluntarily

             nonsuits without prejudice her Verified Petition for Rule 202 Deposition of Jed Wallace.

                    At a pretrial conference in the United States District Court for the Southern District of New

             York, held on February 3, 2025, counsel for Wayfarer parties, who is also counsel to Mr. Wallace,

             took the position that the interests of case management and efficiency counsel in favor of litigation

             related to the underlying dispute at issue in this Petition being raised and litigated in the S.D.N.Y.

             See Lively v. Wayfarer Studios LLC, et al., 24-cv-10049 (LJL); Wayfarer Studios LLC, et al., 25-

             cv-449 (LJL). Thus, for purposes of judicial economy, Petitioner is voluntarily filing this nonsuit

             without prejudice.




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                   Case 1:24-cv-10049-LJL   Document 142-3    Filed 03/19/25        Page 3 of 4




             February 4, 2025                    Respectfully submitted,

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                                                 ATTORNEYS FOR PETITIONER
                                                 BLAKE LIVELY




                                                   -2-


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                     Case 1:24-cv-10049-LJL      Document 142-3          Filed 03/19/25    Page 4 of 4

                                 Automated Certificate of eService
        This automated certificate of service was created by the efi ling system.
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        on the date and to the persons listed below. The rules governing
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         Carey Wallick on behalf of Laura Prather
         Bar No. 16234200
         carey. wallick@haynesboone.com
         Envelope ID: 96959455
         Filing Code Description: Notice
         Filing Description: Notice of Nonsuit Without Prejudice
         Status as of 2/4/2025 12:51 PM CST

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